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PROCEDURAL GUIDELINES

C) Patients who are violent or could inflict potential harm to self or others due to an
impaired psychological state and/or substance abuse
Contraindications
The potential risks of restraints are believed to be offset by the potential benefits of
a better patient outcome (such as the patient being safer from activities and behaviors
that could cause physical harm and lead to a chance of increased morbidity) as well
as being safer for crew members.
Caution
C) Loss of pulses, capillary refill and sensation can occur if restraints are overtightened
C) Neurovascular exams shall be performed at 5 minute intervals during restraint
Procedure
Q) Explain reason for restraint to the patient, family, or significant other, prior to being
initiated.
C) Reassure the patient that this is not a punishment, but a safety precaution.
C) Select the appropriate restraint, this should be adjusted to provide for patient
comfort, but secure enough to assure effectiveness of device
Q) Apply according to the manufacturer’s instructions. When wrist restraints are used
cocurrently with ankle restraints, the restraint should be applied to one arm and the
opposite leg (two point restraint) or to all four extremities (four point restraint) you
should be able to slip one finger between the restraint and the patient’s skin.
Q) Tie with easily released hitches (Quick—release knots) out of patient’s reach.
Q) Position patient to prevent aspiration and to allow visual contact, maintain proper
body alignment.
C) Check pulses below the point of restraint to ensure circulation
Q) Check restraint integrity

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PEDIATRIC PATIENT IMMOBILIZATION

Indications

C) Spinal immobilization, of pediatric patients who fit within the height and weight Figure 40
guidelines specific to the brand of pediatric immobilizer used

WA.A. Kinder (See Figure 40)
Winfants and children up to 60 pounds
@ Ferno Pedi—Pac (See Figure 41)
Mpatients 28-54 inches, and between 20-90 pounds
@ LSP Pedi-Immobilizer (See Figure 42)
Winfants and children up to 75 pounds
Application/Use

Q) While applying gentile in-line manual C-spine , immobilize the patient's head
and neck (cervical spine) with a cervical collar or similar device. Do not release
until immobilization is complete.

C) Place the immobilizer behind the patient for extrication (if applicable), or beside
them if application is only for a backboard type use. For this type of application, a
proper “log rolling” technique should be used.

Q) While continuing manual c-spine, apply the straps to the body and extremities

C) Secure the head with the CID, supplied by the manufacturer, and release manual c—
spine

Q) Device should be secured to either stretcher or bench seat, prior to transportation

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Figure 41

 

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EMERGENCY MEDICAL GUIDELINES

AS MENSION C) The key dimension is the distance between the top of the patients shoulders where
the collar will rest and the bottom plane of the patients chin (angle of the jaw)
Stiffneck, Stiffneck Select and Philadelphia
Q) While the patient’s head is being held in neutral alignment use finger width to
4 visually measure the distance from the shoulder to the chin (key dimension)
C) Use the finger measurement to select the collar size or adjustment that matches
the key dimension
C) Maintain neutral alignment of the head throughout application
() Position the chin piece by sliding the collar up the chest wall. Be sure the chin
extends far enough onto the chin piece to cover the central fastener. Difficulty in
positioning the chin piece may indicate the need for a shorter collar
C) Slide the back portion of the collar behind the patients neck and affix the hook and
loop fastener strap to the collar, the strap should be snug enough to maintain the
KEY DIMENSION chin piece in position
OncoLLAR C) Ensure that the chin piece stays in position during the application

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Figure 38

Sure—Loc and WIZLoc
C) Maintain neutral alignment of the head throughout application
| C) The key dimension on the collar is the distance between sizing indicator and the
—— ——_ lower rigid plastic band, not the foam padding

KEY DIMENSION
ON COLLAR QC) WIZLoc Only-Pre adjust the occipital support based on visual inspection of the

(OO neck (Thick, Regular or Tall)

t C) Position the chin piece under the patient’s chin
(I Slide the back portion of the collar behind the patient’s neck and loosely affix the

Figure 39 hook and loop fastener strap to the collar

Q) Hold the bottom of the collar downward in contact with the patient’s chest

C) Raise the mandibular support until contact is made with the chin (do not exert
upward pressure on the chin, the may cause further injury to the patient), lock the
support in position

C) Adjust the hook and loop fastener snug enough to maintain the chin piece in position

C) Sure-Loc Only—Adjust the occipital support until contact is made with the patient’s
occiput (do not exert upward pressure after contact with the occiput is made, this
may cause further injury to the patient), lock the support in position

C) Ensure that the chin piece stays in position during the application

C) Clean or dispose of collars according to department guidelines

 

 

PATIENT RESTRAINTS

Restraints have the potential to produce serious consequences such as physical and
psychological harm, loss of dignity, violation of an individual’s rights, and even death.
Accordingly, the use of restraints will be limited to situations where other treatment
interventions have clearly failed to address the patient’s presenting clinical needs and
safety. Examples of alternative interventions may include but are not limited to utiliza-
tion of adjustable stretcher restraint straps, soft roller bandage to cover and protect IV
sites. Restraint is any method of physically restricting a person’s freedom of movement,
physical activity or normal access to his or her body.

Indications

C) Patients with Endotracheal tubes/trachs

Q) Patients with Invasive Catheters, lines and tubes

() Patients with Brain pathologies or injury

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